      Case 4:19-cv-05075-RMP     ECF No. 38    filed 12/31/20   PageID.283 Page 1 of 2




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 2                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON


 3                                                                Dec 31, 2020
                                                                       SEAN F. MCAVOY, CLERK
 4

 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    GREG WILLIAMS and RACHELUE
      WILLIAMS, a marital community,             NO: 4:19-CV-5075-RMP
 8
                               Plaintiffs,       ORDER OF DISMISSAL WITH
 9                                               PREJUDICE
            v.
10
      QUALITY MIDWESTERN
11    HOLDINGS, INC., d/b/a QUALITY
      SERVICES MOVING, a Virginia
12    corporation, and EDWARD
      GRAVES,
13
                               Defendants.
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           BEFORE THE COURT is the parties’ Stipulation of Settlement Motion for
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     Order of Dismissal with Prejudice, ECF No. 37. Having reviewed the Motion and
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     the record, the Court finds good cause to grant dismissal. Accordingly, IT IS
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     HEREBY ORDERED:
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           1.    The parties’ Stipulation of Settlement Motion for Order of Dismissal
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     with Prejudice, ECF No. 37, is GRANTED.
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 4:19-cv-05075-RMP     ECF No. 38    filed 12/31/20   PageID.284 Page 2 of 2




 1         2.     Plaintiffs’ Complaint is dismissed with prejudice and without fees or

 2   costs to any party.

 3         3.     All pending motions, if any, are DENIED AS MOOT.

 4         4.     All scheduled court hearings, if any, are STRICKEN.

 5         IT IS SO ORDERED. The District Court Clerk is directed to enter this

 6   Order, enter judgment of dismissal with prejudice, provide copies to counsel, and

 7   close this case.

 8         DATED December 31, 2020.

 9
                                               s/ Rosanna Malouf Peterson
10                                          ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
